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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

  UNITED STATES, et al.,                        )
                                                )
                         Plaintiffs,            )
         v.                                     )       No. 1:23-cv-00108-LMB-JFA
                                                )
  GOOGLE LLC,                                   )
                                                )
                         Defendant.             )


              REPLY IN SUPPORT OF PLAINTIFFS’ MOTION TO COMPEL
               GOOGLE TO PRODUCE ALL DATA AND INFORMATION
           REFERRED TO AND/OR RELIED ON BY ITS TESTIFYING EXPERTS
         In their over 2,500 pages of expert reports served on January 23, 2024, Google’s nine

  experts relied upon 299 documents that contain unidentified hyperlinks to other Google

  documents. Based on past experience, it is likely that many of the unidentified hyperlinks will

  lead to documents that Google has already produced in discovery, but without the appropriate

  metadata tying the hyperlinked documents to the documents cited by Google’s experts, Plaintiffs

  are left operating in the dark. Google undeniably has this relevant information but nonetheless

  attempts to withhold it from Plaintiffs by (1) arbitrarily distinguishing hyperlinked documents

  from other types of attachments to documents; (2) inserting a sunset provision to the ESI Order

  that does not exist; (3) claiming prejudice from its own decision to provide its experts incomplete

  documents; and (4) making a vague assertion of burden with no supporting concrete evidence.


         Accordingly, the Court should compel Google to provide Plaintiffs the information

  necessary to identify the hyperlinked documents referenced in the documents relied upon by

  Google’s experts, as listed in Appendix A of Plaintiffs’ January 26, 2024 letter, or if the

  underlying hyperlinked documents were not previously produced, to produce any such
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  documents promptly, and in all events before the deposition of the expert who relied upon the

  cited documents.

         A. Like any other form of attachment, hyperlinked documents are incorporated
            into, and integral to the understanding of, the cited documents.
         At bottom, Google’s argument related to the Expert Discovery Order comes down to

  whether hyperlinked documents constitute a materially different form of attachment in a given

  document “family.” Arguments about document attachments and their discoverability have taken

  many forms over the years as technology has evolved, but the caselaw ultimately lands at the

  same result: attachments, in whatever form they take, are an integral part of a relevant

  communication. For that reason, the law generally considers a document, with its associated

  attachments, as a single complete document for discovery purposes. In this day and age, a litigant

  would not dare produce an email without its associated attachments, and for good reason.

  Without the contemporaneous attachments, necessary context is missing.


         “[H]arkening back to the days of paper discovery, communications and documents that

  were attached contemporaneously (as with a staple through all pages)” were generally treated as

  single object or communication. Abu Dhabi Com. Bank v. Morgan Stanley & Co. Inc., No. 08

  CIV. 7508 SAS, 2011 WL 3738979, at *5 (S.D.N.Y. Aug. 18, 2011), report and recommendation

  adopted, No. 08 CIV. 7508 SAS, 2011 WL 3734236 (S.D.N.Y. Aug. 24, 2011).


         As technology morphed and email came into widespread use, litigants attempted to

  differentiate email attachments from paper attachments, but ultimately were unsuccessful, with

  courts finding that email attachments are deemed one responsive “document” or “document

  family,” i.e. a “message unit.” Pom Wonderful LLC v. Coca-Cola Co., No. CV 08- 6237 SJO,

  2009 WL 10655335, at *2 (C.D. Cal. Nov. 30, 2009) (citing the Sedona Conference).


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         Google now asks the Court to upend this settled practice, relying solely on the change in

  the technological means of attachment, not on the substance or the import and relevance of the

  attachment itself. But there is no meaningful distinction between a hyperlinked document and a

  document “attached” to the communication through other means (by staple, email attachment or

  otherwise).1 Indeed, most courts that have considered this question in other jurisdictions have

  extended the principles regarding paper and email attachments to equivalent documents attached

  by hyperlink. See Dunbar v. Google, Inc., No. 5:12-cv-03305, ECF 244 (N.D. Cal. Jan. 8,

  2013) (citing the parties’ briefs, filed under seal as ECF 296 and 298, and ordering defendants to

  produce hyperlinked Google Docs); Milgard Mfg. v. Liberty Mut. Ins. Co., No. C13-6024 BHS,

  2015 U.S. Dist. LEXIS 54108, at *5-*6 (W.D. Wash. Apr. 24, 2015) (compelling defendant to

  “produce[] the documents in a format that allows [plaintiff] to match emails and documents with

  their associated attachments and hyperlinks”); Shenwick v. Twitter, Inc., No. 16-CV-05314-JST

  (SK), 2018 WL 5735176, at *1 (N.D. Cal. Sept. 17, 2018) (holding in the context of a request for

  hyperlinked documents that "if an electronic message refers to a document, then Plaintiffs should

  be able to access that document"). 2


         Furthermore, it bears noting that Federal Rule of Evidence 106, which articulates a rule

  of “completeness” as it relates to documents, exists for good reason. And as one court explained


  1
    The fact that Plaintiffs in connection with the ESI Order agreed to treat hyperlinked documents
  differently than email attachments given Google’s complaints concerning the burdens associated
  with hyperlinked documents, should not be construed as an admission for all purposes that
  hyperlinked documents are any less important or relevant than any other attachment, or that
  hyperlinked documents should receive any different treatment under any other order of the court,
  including the Expert Discovery Order.
  2
    One exception to this line of cases is Nichols v. Noom, Inc., No. 20-CV-2677, 2021 WL 948646
  (S.D.N.Y. Mar. 11, 2021); however, even in that case the court stated the “[i]t will allow
  Plaintiffs to evaluate [defendant’s] production and, if Plaintiffs determine there is a need for an
  additional targeted pull or production or clarifying information about a hyperlinked document’s
  identity or Bates number, Plaintiffs can request it.” Nichols, 2021 WL 948646 at *4.
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  in the context of extending that rule to email attachments, that rule justifies an obligation on

  parties to provide relevant attachments in discovery, as well:

         [T]he “completeness” standard of Fed.R.Evid. 106 states that when part of a document is
         introduced into evidence, the entire document may be required if it “ought in fairness” be
         considered contemporaneously. The logic of this evidentiary rule extends backwards to
         discovery which often leads to a conclusion (or at least a presumption) that if something
         was attached to a relevant e-mail, it is likely also relevant to the context of the
         communication. In addition, harkening back to the days of paper discovery,
         communications and documents that were attached contemporaneously (as with a staple
         through all pages) were often treated as a single object for relevance assessments. In
         addition, Fed.R.Civ.P. 34(b)(2)(E)(i) allows a responding party to “produce documents as
         they are kept in the usual course of business or ... organize and label them to correspond
         to the categories in the request.” As some courts have found, there is some appeal to the
         notion that production of a parent e-mail along with its corresponding child attachment
         satisfies Rule 34's “usual course of business” requirement for parties who opt to produce
         documents in that manner.
  Abu Dhabi Com. Bank v. Morgan Stanley & Co. Inc., No. 08 CIV. 7508 SAS, 2011 WL

  3738979, at *5 (S.D.N.Y. Aug. 18, 2011).


         For all of these reasons and to satisfy basic fairness, Google should be compelled to

  identify by Bates number all the hyperlinked documents within the cited documents or to

  otherwise produce the hyperlinked documents to Plaintiffs if they have not already been

  produced in discovery.


         B. There is no time limitation for requests for hyperlinked documents in the ESI
            Order.
         Section K of the ESI Order explicitly authorizes a receiving party to “make reasonable

  and proportionate requests that the producing party conduct a reasonable search for relevant

  documents identified via hyperlinks.” ESI Order, ECF No. 142. That provision contains no time

  limitation for such requests, not even a broad limitation that such request be made “during the

  discovery process” as suggested by Google. Google LLC’s Memorandum of Law in Opposition

  to Plaintiffs’ Motion to Compel, ECF No. 526. That language is nowhere in the ESI Order, but


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  even if it was, the expert discovery period is part of the “discovery process” and that process

  does not close until March 8, 2024. Order Modifying Discovery Schedule, ECF No. 440. If

  Google had wanted to set a time limit to this provision of the ESI Order and limit it to the fact

  discovery period, it could have negotiated for such a position or moved the Court to enforce one.

  It chose to do neither, and therefore, it cannot impose its own post-hoc deadline to escape its

  existing obligations under the ESI Order.


         Further, the timing of Google’s document productions demonstrates the need for such

  requests to occur after the close of fact discovery. Google produced millions of documents after

  the original deadline for the close of fact discovery; indeed, Google has continued to make

  document productions as recently as last week. Therefore, Plaintiffs were not in possession of all

  documents, let alone provided with time to review and analyze the documents, by the close of

  fact discovery. Yet under Google’s self-serving reading, the ESI Order would have allowed it to

  produce documents at the very end of fact discovery (or later), and then reject any subsequent

  request for hyperlinked documents on the grounds that fact discovery had closed. Thus, for the

  hyperlinks provision of the ESI Order to have any reasonable meaning, requests have to be

  permitted after the close of fact discovery.


         Additionally, the timing and scope of Plaintiffs’ request is reasonable. Plaintiffs made

  the request within 72 hours of receiving over 2,500 pages of expert reports from Google, having

  first identified which documents Google’s experts cited that did not have appropriately-identified

  hyperlinks. The hyperlinked documents are a necessary and appropriate means of questioning

  and validating the extent of Google’s experts’ opinions and conclusions. And if the cited

  documents are sufficiently significant to be cited by Google’s own experts, then surely the




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  hyperlinked documents contained therein meet the standard for reasonableness and

  proportionality outlined in the ESI Order.


            Indeed, numerous courts have ordered the production of documents identified by

  hyperlinks, finding that such requests were both reasonable and proportionate. See e.g. IQVIA,

  INC. v. Veeva Sys., Inc., No. 2:17-CV-00177-CCC-MF, 2019 WL 3069203, at *1 (D.N.J. July

  11, 2019) (finding it is “not convinced that relinking these 2,200 documents is unduly

  burdensome in light of the issues at stake in this matter, the resources of the partis, and the

  amount in controversy”); Shenwick v. Twitter, Inc., No. 16-CV-05314-JST (SK), 2018 WL

  5735176, at *1 (N.D. Cal. Sept. 17, 2018) (holding that “Plaintiffs have a right to determine if an

  electronic message refers to a document, then Plaintiffs should be able to access that document”

  and ordering Twitter to “produce documents referenced in a hyperlink for 200 documents that

  Plaintiffs choose”); In re StubHub Refund Litig., No. 20MD02951HSGTSH, 2023 WL 3092972,

  at *2 (N.D. Cal. Apr. 25, 2023) (granting the plaintiffs’ motion to compel and ordering the

  defendant to produce the linked documents as agreed to in the ESI protocol).


            Accordingly, Plaintiffs’ request, including the timing and scope, is authorized by the

  agreed-upon ESI Order and in line with similar or more burdensome requests granted by other

  courts.

            C. Google is not prejudiced by having to produce information it alone possesses.


            In its response, Google argues that it would be prejudiced by giving Plaintiffs access to

  hyperlinked documents that Google’s own experts apparently declined to review. If that is




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  indeed the case (and Plaintiffs doubt it), any such prejudice is of Google’s own making. 3 Google

  has possessed, and continues to possess, the information necessary to link the cited documents to

  the hyperlinked documents. If Google decided not to make that information available to their

  own experts, that is a choice they made. But Google should not be allowed make that choice for

  Plaintiffs, who, unlike Google, have been denied the necessary information to link the cited

  documents to the hyperlinked documents.


         Google’s failure to produce metadata linking the cited documents to the hyperlinked

  documents (in at least these 299 instances), has prejudiced Plaintiffs and will continue to do so.


           For example, attached is one of the cited documents, containing hyperlinks, in Google’s

  expert reports and its accompanying metadata as produced by Google. Exh. 1. As the Court can

  see, there is a metadata field for “LinkedAttachmentsID” and “LinkedParentIDs” field, but

  neither of these metadata fields have been completed. This lack of information is what causes

  the problem for Plaintiffs. Google should not be rewarded for its deficient metadata by being

  able to gerrymander the scope of information available to Plaintiffs and their experts, particularly

  as to documents Google’s own experts have identified as important to the merits of the case. As

  such, Plaintiffs, not Google, bear the risk of prejudice with an adverse ruling.




  3
   To the extent expert reports fundamentally serve a discovery purpose under Federal Rule of
  Civil Procedure 26, Google will not be prejudiced by, but will instead receive the benefit of
  discovering, how Plaintiffs’ experts respond to the content contained in the hyperlinked
  documents. And Plaintiffs likewise should be entitled to explore, at deposition at least, how
  Google’s own experts react to the hyperlinked material.
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         D. Google provided no specifics to its burden claim.


         A party resisting discovery on the grounds of burden or expense bears the burden of

  showing specifically how the request is burdensome. Singletary v. Sterling Transp. Co., 289

  F.R.D. 237, 241 (E.D. Va. 2012).


         The arguments Google advances about its burden are vague and speculative. Google’s

  description of the “manual process” required to investigate hyperlinked documents is precisely

  what was contemplated by the ESI order that the parties negotiated. Plaintiffs seek to impose no

  burden greater than the one already contemplated by the ESI order itself. The purported fact that

  it may take “a few minutes per document to a few hours” to identify the hyperlinked documents

  is too vague a calculation of time, with an enormous variance, to meet Google’s burden of

  persuasion. There was no information provided about the estimated cost or personnel involved.

  Even if Google did provide that information, it is not enough to overcome the issues at stake in

  this matter, the resources of the parties, and the amount in controversy. See e.g. Shenwick v.

  Twitter, Inc., 2018 WL 5735176, at *1 (finding that six weeks and a cost of more than $100,000

  was not a sufficient burden on defendants to avoid producing hyperlinked documents).

         Accordingly, without such information, Google has failed to carry its burden and the

  Court should not entertain the expense to Google as a basis to deny the pending requests.


                          CONCLUSION AND RELIEF REQUESTED

         The plain language of both the Expert Discovery Order and the ESI Order entitles

  Plaintiffs to the information requested, as do the Federal Rules of Civil Procedure and the

  Federal Rules of Evidence. Specifically, the hyperlinks contained within the cited documents of

  Google’s expert reports are integral to understanding the cited documents, and therefore were

  referred to and relied on by Google’s experts. Similarly, the parties negotiated and agreed that

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  Plaintiffs may make the current request. The number of requested documents is reasonable

  given the issues at stakes in this matter, the resources of the parties, and the amount in

  controversy.

         Accordingly, the Court should compel Google to produce a copy of all data or other

  information referred to and/or relied on by its experts, including those hyperlinked documents in

  cited documents as listed in Appendix A of Plaintiffs’ January 26, 2024 letter, or if such data or

  information was produced previously, to identify that information by Bates number.




  Dated: February 8, 2024




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  Respectfully submitted,

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